                Case 1:24-cv-00648-AA            Document 28-1           Filed 07/15/24        Page 1 of 9



From:                Arnaud Paris <arnaud@skyvr.com>
Sent:                Tuesday, July 9, 2024 1:44 PM
To:                  Katrina Seipel
Cc:                  Katelyn Skinner; Wendy Goodyear
Subject:             Re: Update on response to respondent's reply and phone conference about communication with
                     children


Hello Miss Seipel,

I'm surprised I didn't hear back from you after my last email below in regards to this conferral that I had agreed to do
with you, especially as I wanted to address the fact that Miss Brown seems to be in a clear pattern of parental alienation
which is in contravention with the provisions of the Hague Convention as Miss Brown has refused to let our children
have any video calls with me or their French grandparents (or anybody from their French family) for more than 3 months
now.

As I mentioned in my emails to you twice below, the Hague Convention has provisions that require that the parent who
abducted the children be required to preserve the visitation right or in this instance the remote 'visitation' of the left
behind parent to the children which would logically be under the form of several video calls per week at the bare
minimum without any supervision from Mother to ensure that the children be allowed to speak freely to their Father.

This direct and unsupervised video communication hasn't been happening for more than 3 months now and this is
extremely detrimental to the well being of our children and to their mental stability in this context particularly.

Please communicate with me urgently your availability to discuss these matters on the phone as a conferral in the next
few days and please provide me ahead of this discussion with the documented and detailed itinerary Miss Brown took to
leave France with our children in April, including which exit point of the European border passport controls she used and
at what exact time and location she crossed the French and European borders. This is crucial information that we need
to have to be able to discuss this Hague matter and the nature of the removal of our children that Miss Brown
conducted on French soil as a part of this required conferral between us.

Regards,

Arnaud Paris

On 04/07/2024 20:58, Arnaud Paris wrote:
> Miss Seipel, I would like to speak with you urgently regarding the
> abduction that Miss Brown committed and I would like you to explain
> how Miss Brown took Eva and Juliette outside of France in violation of
> two French judgments including one forbidding Miss Brown to exit
> France or Europe with our children that Miss Brown told in person she
> would never dare violate to the presiding judge of the appeal court of
> Paris just a few days before.
>
> Please provide me with the detailed itinerary she took to leave France
> and which exit point of the European border controls she used and at
> what exact time of passage.
>
> Please provide me with the documents she used to exit Europe.

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                                                                                                       EXHIBIT 1
                                                                                                      Page 1 of 9
           Case 1:24-cv-00648-AA      Document 28-1      Filed 07/15/24    Page 2 of 9

>
> I would like to know your involvement and the involvement of your law
> firm in the preparation of this abduction since last August.
>
> I would like to talk also with you about the parental alienation
> undergoing since Miss Brown abducted our children from France and the
> fact that neither me nor my family could do a single video call for
> the last three months with Eva and Juliette.
>
> I would be available tomorrow July 5th at 10.30am, 2pm or 3pm PST but
> please provide me with the requested documents above before this
> conferral are they are crucial to this conferral.
>
> Regards,
>
> Arnaud Paris
>
> On 04/07/2024 04:20, Katrina Seipel wrote:
>> Mr. Paris‐‐
>>
>> I have an obligation to attempt conferral with you regarding our
>> motion to dismiss. Please let me know if there is a day/time you are
>> willing to speak with me on this matter.
>>
>> Thank you,
>>
>> Katrina Seipel
>> Attorney at Law, Associate
>>
>>
>>
>>
>> t 503.620.8900 | f 503.620.4878
>> 5300 Meadows Road, Suite 200 | Lake Oswego, OR 97035
>> KAS@buckley‐law.com
>> https://nam10.safelinks.protection.outlook.com/?url=http%3A%2F%2Fwww.buckley‐
law.com%2F&data=05%7C02%7CKAS%40buckley‐
law.com%7C7e88ab4fe2e143f9664c08dca057e001%7C1f089950fb324b95bbc9ae611c2c4c15%7C0%7C0%7C638561546
492994915%7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJQIjoiV2luMzIiLCJBTiI6Ik1haWwiLCJXVCI6Mn0%
3D%7C0%7C%7C%7C&sdata=E1BSNc4mlQn1cNo8ZQFE%2Bc4NwwehlfDb9q7%2BH20AkvQ%3D&reserved=0
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>>
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>> Litigation & Real Estate Law
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>> and destroy the original and all copies of the message.

                                                2

                                                                                 EXHIBIT 1
                                                                                Page 2 of 9
Case 1:24-cv-00648-AA         Document 28-1         Filed 07/15/24        Page 3 of 9

    >>
    >> ‐‐‐‐‐Original Message‐‐‐‐‐
    >> From: Arnaud Paris <arnaud@skyvr.com>
    >> Sent: Wednesday, July 3, 2024 12:17 PM
    >> To: Katrina Seipel <KAS@buckley‐law.com>
    >> Cc: Katelyn Skinner <kds@buckley‐law.com>; Wendy Goodyear
    >> <wag@buckley‐law.com>
    >> Subject: Re: Update on response to respondent's reply and phone
    >> conference about communication with children
    >>
    >> Miss Seipel, I would like to setup a phone conference urgently
    >> regarding the abduction that Miss Brown committed and I would like
    >> you to explain how Miss Brown took Eva and Juliette outside of France
    >> in violation of two French judgments including one forbidding Miss
    >> Brown to exit France or Europe with our children that Miss Brown told
    >> in person she would never dare violate to the presiding judge of the
    >> appeal court of Paris just a few days before.
    >>
    >> Please provide me with the detailed itinerary she took to leave
    >> France and which exit point of the European border controls she used
    >> and at what exact time of passage.
    >>
    >> Please provide me with the documents she used to exit Europe.
    >>
    >> I would like to know your involvement and the involvement of your law
    >> firm in the preparation of this abduction since last August.
    >>
    >> I would like to talk also with you about the parental alienation
    >> undergoing since Miss Brown abducted our children from France and the
    >> fact that neither me nor my family could do a single video call for
    >> the last three months with Eva and Juliette.
    >>
    >> Please let me know of your availability to discuss these points
    >> urgently in the next few days and please provide me with the
    >> requested documents right away.
    >>
    >> Regards,
    >>
    >> Arnaud Paris
    >>
    >>> Le 3 juil. 2024 à 19:02, Katrina Seipel <KAS@buckley‐law.com> a écrit :
    >>>
    >>> Mr. Paris‐‐
    >>>
    >>> I have an obligation to attempt conferral with you regarding our
    >>> motion to dismiss. While I doubt we will be able to come to any sort
    >>> of consensus, please let me know if there is a day/time you are
    >>> willing to speak with me on the matter.
    >>>
    >>> Thank you,
    >>>
    >>> Katrina Seipel

                                                               3

                                                                                   EXHIBIT 1
                                                                                  Page 3 of 9
            Case 1:24-cv-00648-AA       Document 28-1       Filed 07/15/24     Page 4 of 9

>>> Attorney at Law, Associate
>>>
>>>
>>>
>>>
>>> t 503.620.8900 | f 503.620.4878
>>> 5300 Meadows Road, Suite 200 | Lake Oswego, OR 97035
>>> KAS@buckley‐law.com
>>>
https://nam10.safelinks.protection.outlook.com/?url=http%3A%2F%2Fwww.b%2F&data=05%7C02%7CKAS%40buckley‐
law.com%7C7e88ab4fe2e143f9664c08dca057e001%7C1f089950fb324b95bbc9ae611c2c4c15%7C0%7C0%7C638561546
493010738%7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJQIjoiV2luMzIiLCJBTiI6Ik1haWwiLCJXVCI6Mn0%
3D%7C0%7C%7C%7C&sdata=nPkZ8V1f2xj7sSzqtBLxDTQc18zWRimpyt5cHrL66RE%3D&reserved=0
>>> uckley‐law.com%2F&data=05%7C02%7CKAS%40buckley‐law.com%7Ccf001958b0fa4
>>> f1cbf1008dc9b94b2cc%7C1f089950fb324b95bbc9ae611c2c4c15%7C0%7C0%7C63855
>>> 6310178994781%7CUnknown%7CTWFpbGZsb3d8eyJWIjoiMC4wLjAwMDAiLCJQIjoiV2lu
>>> MzIiLCJBTiI6Ik1haWwiLCJXVCI6Mn0%3D%7C0%7C%7C%7C&sdata=zQaH8tqTb8%2FDux
>>> 0rt4X9ySjtVTl%2FFFj6fcmwdRxJBSI%3D&reserved=0
>>>
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>>>
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>>> Litigation & Real Estate Law
>>>
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>>> distribution, or copying of this message by or to anyone other than
>>> the named addressee(s) is strictly prohibited. If you have received
>>> this message in error, please immediately notify me by reply e‐mail
>>> and destroy the original and all copies of the message.
>>>
>>> ‐‐‐‐‐Original Message‐‐‐‐‐
>>> From: Arnaud Paris <arnaud@skyvr.com>
>>> Sent: Wednesday, June 26, 2024 11:55 AM
>>> To: Catherine Kramer <Cathy_Kramer@ord.uscourts.gov>
>>> Cc: Katelyn Skinner <kds@buckley‐law.com>; Katrina Seipel
>>> <KAS@buckley‐law.com>
>>> Subject: Re: Update on response to respondent's reply and phone
>>> conference about communication with children
>>>
>>> Hello Cathy, before Honorable Judge Aiken would consider the motion
>>> to strike from the other party I'd like to be given a chance to file
>>> a response to it.
>>>
>>> Based on the communication I had with the court it was my
>>> understanding that the timeline I had shared for filing my response
>>> was acceptable.
>>>
>>> So let me know if Honorable Judge Aiken thinks it would be necessary
>>> for me to file a response to Miss Brown's lawyers motion.
>>>
>>> I would like to point out to the court that it is now almost three

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                                                                                     EXHIBIT 1
                                                                                    Page 4 of 9
Case 1:24-cv-00648-AA         Document 28-1         Filed 07/15/24      Page 5 of 9

     >>> months that I haven't seen Eva and Juliette since they've been
     >>> abducted from France. It's urgent that a phone conference with
     >>> Honorable Judge Aiken be organized under the Hague Convention
     >>> provisions to restore proper communication between our children and
     >>> their father and to stop this terrible parental alienation that
     >>> their mother has been imposing on them for many weeks now.
     >>>
     >>> Best,
     >>>
     >>> Arnaud
     >>>
     >>>> On 26/06/2024 17:01, Catherine Kramer wrote:
     >>>> Good morning,
     >>>>
     >>>> The Court has received your filings as well as Respondent's Motion
     >>>> to Strike and is reviewing everything at this time.
     >>>>
     >>>> Best,
     >>>> ~Cathy
     >>>>
     >>>>
     >>>> ‐‐‐‐‐Original Message‐‐‐‐‐
     >>>> From: Arnaud Paris <arnaud@skyvr.com>
     >>>> Sent: Tuesday, June 25, 2024 4:13 PM
     >>>> To: Catherine Kramer <Cathy_Kramer@ord.uscourts.gov>
     >>>> Cc: kds@buckley‐law.com; kas@buckley‐law.com
     >>>> Subject: Re: Update on response to respondent's reply and phone
     >>>> conference about communication with children
     >>>>
     >>>> CAUTION ‐ EXTERNAL:
     >>>>
     >>>>
     >>>> Hello Cathy, the amended response was filed today. I hope this
     >>>> Honorable Court will consider the complexity of filing this amended
     >>>> response all the way from France and without any US counsel
     >>>> representing me as I've been waiting now for more than two months
     >>>> to have a US Hague counsel provided to me by the State Department,
     >>>> though I was supposed to have a Hague counsel provided to me more
     >>>> than a month ago per the Hague Convention under my financial
     >>>> situation as indicated per the attached email from the State
     >>>> Department.
     >>>>
     >>>> Please communicate to Honorable Judge Aiken that in this context of
     >>>> not having been provided a Hague Counsel by the State Department I
     >>>> did my best to provide Pro Per this response in the fastest
     >>>> possible manner and presenting my response arguments in the best
     >>>> possible and documented way in the interest of clarity and of the
     >>>> children in this complex matter.
     >>>>
     >>>> Could you please confirm that Honorable Judge Aiken will be able to
     >>>> review it?
     >>>>

                                                              5

                                                                                 EXHIBIT 1
                                                                                Page 5 of 9
Case 1:24-cv-00648-AA        Document 28-1         Filed 07/15/24      Page 6 of 9

    >>>> Regards,
    >>>>
    >>>> Arnaud Paris
    >>>>
    >>>>> On 21/06/2024 20:09, Catherine Kramer wrote:
    >>>>> No problem, thanks for letting me know.
    >>>>>
    >>>>> Have a great weekend!
    >>>>>
    >>>>> ~Cathy
    >>>>>
    >>>>>
    >>>>> ‐‐‐‐‐Original Message‐‐‐‐‐
    >>>>> From: Arnaud Paris <arnaud@skyvr.com>
    >>>>> Sent: Friday, June 21, 2024 9:07 AM
    >>>>> To: Catherine Kramer <Cathy_Kramer@ord.uscourts.gov>
    >>>>> Cc: kds@buckley‐law.com; kas@buckley‐law.com
    >>>>> Subject: Re: Update on response to respondent's reply and phone
    >>>>> conference about communication with children
    >>>>>
    >>>>> CAUTION ‐ EXTERNAL:
    >>>>>
    >>>>>
    >>>>> Hello Cathy, you will see that my Response was filed yesterday but
    >>>>> it appears there were some mistakes in the documents so I will be
    >>>>> filing an amended version today or Monday.
    >>>>>
    >>>>> Considering the extensive length of that Response I wanted to let
    >>>>> you know right away so that you could inform Honorable Judge Aiken.
    >>>>>
    >>>>> Please present my deepest apologies to Honorable Judge Aiken for
    >>>>> me if she has already started to go over this response.
    >>>>>
    >>>>> Best,
    >>>>>
    >>>>> Arnaud Paris
    >>>>>
    >>>>> On 20/06/2024 17:12, Catherine Kramer wrote:
    >>>>>> Thank you.
    >>>>>>
    >>>>>> ~Cathy
    >>>>>>
    >>>>>> ‐‐‐‐‐Original Message‐‐‐‐‐
    >>>>>> From: Arnaud Paris <arnaud@skyvr.com>
    >>>>>> Sent: Wednesday, June 19, 2024 10:04 AM
    >>>>>> To: Catherine Kramer <Cathy_Kramer@ord.uscourts.gov>
    >>>>>> Cc: kds@buckley‐law.com; kas@buckley‐law.com
    >>>>>> Subject: Re: Update on response to respondent's reply and phone
    >>>>>> conference about communication with children
    >>>>>>
    >>>>>> CAUTION ‐ EXTERNAL:
    >>>>>>

                                                            6

                                                                                 EXHIBIT 1
                                                                                Page 6 of 9
Case 1:24-cv-00648-AA        Document 28-1         Filed 07/15/24      Page 7 of 9

    >>>>>>
    >>>>>> Hello Cathy, my response will be filed tomorrow morning, I
    >>>>>> apologize as there were some logistical delays on filing this
    >>>>>> from France as it is a rather big filing with a large number of
    >>>>>> exhibits.
    >>>>>>
    >>>>>> Regards,
    >>>>>>
    >>>>>> Arnaud Paris
    >>>>>>
    >>>>>> On 17/06/2024 17:12, Catherine Kramer wrote:
    >>>>>>> Thank you.
    >>>>>>>
    >>>>>>> ~Cathy
    >>>>>>>
    >>>>>>> ‐‐‐‐‐Original Message‐‐‐‐‐
    >>>>>>> From: Arnaud Paris <arnaud@skyvr.com>
    >>>>>>> Sent: Friday, June 14, 2024 5:12 PM
    >>>>>>> To: Catherine Kramer <Cathy_Kramer@ord.uscourts.gov>
    >>>>>>> Cc: kds@buckley‐law.com; kas@buckley‐law.com
    >>>>>>> Subject: Re: Update on response to respondent's reply and phone
    >>>>>>> conference about communication with children
    >>>>>>>
    >>>>>>> CAUTION ‐ EXTERNAL:
    >>>>>>>
    >>>>>>>
    >>>>>>> Good afternoon Cathy, I wanted to inform you that I've only
    >>>>>>> gotten the final key documents I needed for my response and that
    >>>>>>> it will be filed with the court early next week.
    >>>>>>>
    >>>>>>> Best,
    >>>>>>>
    >>>>>>> Arnaud Paris
    >>>>>>>
    >>>>>>> On 06/06/2024 18:09, Catherine Kramer wrote:
    >>>>>>>> Good morning,
    >>>>>>>>
    >>>>>>>> Once it has been filed in CM/ECF, the Court will review your
    >>>>>>>> Reply before determining whether or not a telephonic hearing is
    >>>>>>>> necessary.
    >>>>>>>>
    >>>>>>>> Best,
    >>>>>>>>
    >>>>>>>> Cathy Kramer
    >>>>>>>> Courtroom Deputy to Judge Ann Aiken United States District Court
    >>>>>>>> for the District of Oregon Wayne L.
    >>>>>>>> Morse U.S. Courthouse
    >>>>>>>> 405 E 8th Avenue | Eugene, OR 97401
    >>>>>>>>      (541) 431‐4102 | cathy_kramer@ord.uscourts.gov
    >>>>>>>>
    >>>>>>>>
    >>>>>>>>

                                                            7

                                                                                 EXHIBIT 1
                                                                                Page 7 of 9
Case 1:24-cv-00648-AA         Document 28-1          Filed 07/15/24       Page 8 of 9

    >>>>>>>> ‐‐‐‐‐Original Message‐‐‐‐‐
    >>>>>>>> From: Arnaud Paris <arnaud@skyvr.com>
    >>>>>>>> Sent: Wednesday, June 5, 2024 4:33 PM
    >>>>>>>> To: Catherine Kramer <Cathy_Kramer@ord.uscourts.gov>
    >>>>>>>> Cc: kds@buckley‐law.com; kas@buckley‐law.com
    >>>>>>>> Subject: Update on response to respondent's reply and phone
    >>>>>>>> conference about communication with children
    >>>>>>>>
    >>>>>>>> CAUTION ‐ EXTERNAL:
    >>>>>>>>
    >>>>>>>>
    >>>>>>>> Hello Cathy, just to keep you updated I'm waiting some
    >>>>>>>> documents from the French criminal court and I will be making a
    >>>>>>>> response to Respondent's reply by mid next week. Just wanted to
    >>>>>>>> make sure this is ok with Honorable Judge Aiken to wait till then.
    >>>>>>>>
    >>>>>>>> Also I would like to ask for a special phone conference to take
    >>>>>>>> place urgently with Honorable Judge Aiken to talk about my
    >>>>>>>> communication with the children. I haven't been able to see
    >>>>>>>> them once on video calls since they've been abducted for almost
    >>>>>>>> two months now and their mother has even refused any
    >>>>>>>> communication between our daughters and their French grand
    >>>>>>>> parents or any of their French family for that matter.
    >>>>>>>>
    >>>>>>>> The Hague Convention is very clear about that aspect, as soon
    >>>>>>>> as a Hague Action is filled the left behind parent is entitled
    >>>>>>>> to proper access or communication with the children and I've
    >>>>>>>> started this Hague Action on April 16th and then filed several
    >>>>>>>> motions respectfully asking to have that unsupervised direct
    >>>>>>>> communication in video calls with my children to be restored
    >>>>>>>> urgently.
    >>>>>>>>
    >>>>>>>> I would like to talk about that urgently with Judge Aiken on a
    >>>>>>>> phone conference with the other party as it is in the interest
    >>>>>>>> of the children to have this unsupervised direct communication
    >>>>>>>> in video restored with their Father ASAP as this sudden and
    >>>>>>>> abrupt separation from me, their main legal custodial parent
    >>>>>>>> they've had in France for the last 9 months, must have been
    >>>>>>>> extremely traumatizing for them. Not to mention that I have
    >>>>>>>> serious concerns of parental alienation against me that has
    >>>>>>>> been ongoing since their mother abducted Eva and Juliette from
    >>>>>>>> France almost two months ago.
    >>>>>>>>
    >>>>>>>> Thank you for your help setting up this special phone
    >>>>>>>> conference in the interest of the children.
    >>>>>>>>
    >>>>>>>> Best,
    >>>>>>>>
    >>>>>>>> Arnaud Paris
    >>>>>>>>
    >>>>>>>> CAUTION ‐ EXTERNAL EMAIL: This email originated outside the
    >>>>>>>> Judiciary. Exercise caution when opening attachments or

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                                                                                   EXHIBIT 1
                                                                                  Page 8 of 9
Case 1:24-cv-00648-AA        Document 28-1          Filed 07/15/24       Page 9 of 9

     >>>>>>>> clicking on links.
     >>>>>>>>
     >>>>>>> CAUTION ‐ EXTERNAL EMAIL: This email originated outside the
     >>>>>>> Judiciary. Exercise caution when opening attachments or clicking
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     >>>>>> CAUTION ‐ EXTERNAL EMAIL: This email originated outside the
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     >>>> CAUTION ‐ EXTERNAL EMAIL: This email originated outside the
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     >>>> links.
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                                                               9

                                                                                 EXHIBIT 1
                                                                                Page 9 of 9
